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                         UNITED STATES DISTRICT
                FOR THE NORTHERN DISTRICT OF OKLAHOMA

  (1) KATHRYN TAYLOR,                          §
                                               §
                Plaintiff,                     §
                                               §
  vs.                                          §       Case No. 17-cv-525-CVE-JFJ
                                               §
  (1) AIG PROPERTY CASUALTY                    §
      COMPANY, and                             §
  (2) ROBERTSON TAYLOR                         §
      INTERNATIONAL INSURANCE                  §
      BROKERS, INC.,                           §
                                               §
                Defendants.                    §

                    DEFENDANTS’ JOINT NOTICE OF REMOVAL

         COME NOW, Defendant AIG Property Casualty Company (“AIGPCC”), and

  Defendant Integro USA Inc., (“Integro”) as successor-by-merger to Robertson Taylor

  International Insurance Brokers, Inc. (the latter of which, although named as a defendant

  in this case, has been merged into Integro and therefore no longer exists), and hereby

  remove this civil action which was originally filed in the District Court of Tulsa County,

  Oklahoma, Case No. CJ-2017-2910 (the “State Action”), to the United States District

  Court for the Northern District of Oklahoma, pursuant to 28 U.S.C. §§ 1332, 1441 and

  1446.1 and would respectfully show the Court as follows:

         1.     This is an action of a civil nature over which the District Courts of the

  United States of America have original jurisdiction pursuant to 28 U.S.C. § 1332 because

  complete diversity of citizenship existed at the time of the filing of this action and still

  1      On September 7, 2017, Plaintiff dismissed defendant American International Group, Inc.
         from the State Action without prejudice. See Exhibit 7 hereto.

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  exists as between Plaintiff Kathryn Taylor and Defendants AIGPCC and Integro, and the

  amount in controversy exceeds the sum of $75,000, exclusive of any interest and costs.

         2.     Under 28 U.S.C. §§ 1441 and 1446, Defendants have the right to remove

  the State Action from the District Court of Tulsa County, Oklahoma, to the United States

  District Court for the Northern District of Oklahoma, which is the federal district in

  which the action is pending.

         3.     Plaintiff is a natural individual who, according to the Petition, is a citizen of

  Tulsa County, State of Oklahoma. (Ex. 1, Petition, p. 1.)

         4.     AIGPCC is a Pennsylvania company with its principal place of business at

  175 Water Street, New York, New York, 10038.

         5.     Integro is a Delaware corporation with its principal place of business at 1

  State Street Plaza, 9th Floor, New York, New York, 10004.

         6.     Plaintiff asserts claims against Defendants for allegations of breach of

  contract, breach of the duty of good faith and fair dealing, and negligence procurement

  and maintenance of insurance. Plaintiff seeks to recover damages in excess of $75,000 in

  connection with each of the above claims, as well as punitive damages and attorneys’

  fees and costs. (Ex. 1, Petition, pp. 3-9.)

         7.     Defendants deny any and all alleged wrongdoing and any and all liability to

  Plaintiff. Defendants and each of them have not yet filed a responsive pleading in the

  state court action. By filing this Notice of Removal, Defendants do not waive any

  defenses that may be available to them or each of them.

         8.     AIGPCC was served with the Summons and Petition in the State Action on

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  August 21, 2017. Integro was served with the Summons and Petition in the State Action

  on August 16, 2017. This Joint Notice of Removal is being timely filed within thirty (30)

  days of service of the Summons and Petition pursuant to 28 U.S.C. § 1446(b).

        9.     Pursuant to 28 U.S.C. § 1446(a), a copy of the Petition and Summonses that

  Plaintiff served on Defendants are attached hereto as Exhibit 1. No further processes or

  pleadings have been served on Defendants.

        10.    Pursuant to Local Civil Rule 81.2, a copy of the state court docket sheet is

  attached hereto as Exhibit 2.

        11.    The only other filings to date are as follows:

               • Entry of Appearance, Exhibit 3.

               • Special Entry of Appearance and Reservation of Time to Respond,

                   Exhibit 4.

               • Unopposed Motion for Extension of Time to Respond to Petition by

                   Defendant Integro USA Inc. as Successor-By-Merger to Robertson

                   Taylor International Insurance Brokers, Inc., Exhibit 5.

               • Order Granting Unopposed Motion for Extension of Time to Respond to

                   Petition by Defendant Integro USA Inc. as Successor-By-Merger to

                   Robertson Taylor International Insurance Brokers, Inc., Exhibit 6.

               • Dismissal Without Prejudice, Exhibit 7.

        12.    All Defendants join in this Joint Notice of Removal.           The Petition

  originally named American International Group, Inc. as a Defendant (Ex. 1), but, as noted



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  in footnote 1, above, that party has since been dismissed without prejudice (Ex. 7).

           13.   Service of this Notice of Removal is being made on all parties listed on the

  attached Certificate of Service as required by 28 U.S.C. § 1446(d).

           14.   Promptly after filing this Notice of Removal, and as required by 28 U.S.C.

  § 1446(d), Defendants will serve on Plaintiff and file with the Clerk of the District Court

  of Tulsa County, Oklahoma, a “Notice of Filing of Notice of Removal to Federal Court”

  in the form attached hereto as Exhibit 8 that will include a copy of this Notice of

  Removal as an exhibit thereto.

           WHEREFORE, Defendants respectfully prays that this action be removed to this

  Court for further proceedings as though this action had originally been instituted in this

  Court.

                                                   Respectfully submitted,

                                                    s/ John C. Lennon
                                                   Malinda S. Matlock, OBA No. 14108
                                                   Dan Hoehner, OBA No. 10852
                                                   John C. Lennon, OBA No. 30149
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                                                   ATTORNEYS FOR DEFENDANT
                                                   AIG PROPERTY CASUALTY
                                                   COMPANY

                                                   -and-


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                                                    s/ Kristopher Koepsel
                                                   (by filing attorney, with permission)
                                                   Kristopher Koepsel, OBA No. 19147
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                                                   ATTORNEYS FOR DEFENDANT
                                                   INTEGRO USA INC.
                                                   (SUCCESSOR-BY-MERGER
                                                   TO NAMED DEFENDANT
                                                   ROBERTSON TAYLOR
                                                   INTERNATIONAL INSURANCE
                                                   BROKERS, INC.)


                              CERTIFICATE OF SERVICE

         I certify that a true and correct copy of this document was served on all counsel of
  record, listed below pursuant to the Federal Rules of Civil Procedure, on September 15,
  2017.

         Reggie N. Whitten
         Michael Burrage
         J. Revell Parrish

         Attorneys for Plaintiff
         Kathryn Taylor

                                                    s/ John C. Lennon
                                                   John C. Lennon




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